Case 2:99-cr-20288-.]TF Document 227 Filed 04/25/05 Page 1 of 2 Page|D 275

Fii.__ `€‘
lN THE UNlTED STATES DlSTRICT COURT §§
FOR THE WESTERN DlSTRlCT OF TENNESSEE 052-5 '.: i\ 25 § ri §
WESTERN DlVlSiON -

EGE:L ;|r~ri Ff [,)i fi_!@

uNlTED sTATEs oF AMERch, ) \§r:/§i§ § é~r= §i'~§j §§;,‘§_N,'PH§‘§

Plaintiff, §)
vs. § Cr. No. 99-20288-D
GERALD RAYBORN, §

Defendant. ))

 

ORDER

 

Upon agreement of both parties, and in orderfor the parties to resolve restitution
issues, the judgment entered in this case on Apri| 14, 2005, is hereby ORDERED

Withdrawn until further order of the court.

This the 525' day of April, 2005.

   

Frederick H. Godwin

Assistant U.S. Attorney M- \

Jame R./Ga s Jr
Atto eyfor De ndant

/

This document entered on the docket sheet c a L/\
with Rule 55 end/or 32(b) FFICrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 227 in
case 2:99-CR-20288 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

.1 ames R. Garts

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Kevin P. Whitmore

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Frederick H. Godwin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

.1 ames D. Wilson

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Ruby R. Wharton

THE WHARTON FIRM
147 .1 efferson Avenue
Ste. 1205

1\/1emphis7 TN 38103

Marcus D. Ward

THE WHARTON FIRM
147 .1 efferson Avenue
Ste. 1205

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

